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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF ARKANSAS
                         NORTHERN DIVISION

BRANDON DANNER                                                              PLAINTIFF

v.                        CASE NO. 3:22-CV-00223 BSM-JTR

STEVE FRANKS, et al.                                                    DEFENDANTS

                                    JUDGMENT

     Consistent with the order entered today, this case is dismissed with prejudice.

     IT IS SO ORDERED this 24th day of October 2023.


                                                 ________________________________
                                                 UNITED STATES DISTRICT JUDGE
